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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA             Hon. Reneé M. Bumb

                v.                    Crim. No. 23-568-RK

 MANUEL A. QUINONES                   Scheduling Order


       This matter having come before the Court for arraignment; and the

 United States being represented by Philip R. Sellinger, United States

 Attorney for the District of New Jersey (Christopher Fell, Assistant U.S.

 Attorney, appearing); and the Defendant being represented by Stacy A.

 Biancamano, Esq.; and the parties having met and conferred prior to

 arraignment and having determined that this matter may be treated as a

 criminal case that does not require extensive discovery within the

 meaning of paragraph 3 of this Court’s Standing Order for Criminal Trial

 Scheduling and Discovery; and the parties having agreed on a schedule

 for the exchange of discovery and the filing and argument of pretrial

 motions; and the Court having accepted such schedule, and for good

 cause shown,

       It is on this ___ day of _______, 2023, ORDERED that:

       1. The Government shall provide all discovery required by Federal

 Rule of Criminal Procedure 16(a)(1) on or before September 8, 2023.

       2. The Government shall provide exculpatory evidence, within the

 meaning of Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, on or
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 before September 8, 2023. Exculpatory evidence that becomes known

 to the Government after that date shall be disclosed reasonably promptly

 after becoming known to the Government.

       3. The Defendant shall provide all discovery required by Federal

 Rule of Criminal Procedure 16(b)(1) on or before November 17, 2023.

       4.   The Defendant shall provide any and all notices required by

 Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3 on or before

 November 17, 2023.

       5. The following shall be the schedule for pretrial motions in this

 matter:

            a) Any and all pretrial motions, pursuant to Federal Rules of

 Criminal Procedure 12(b) and 41(h), in the manner set forth in L. Civ. R.

 7.1, shall be filed on or before November 17, 2023;

            b) Responses to the pretrial motions shall be filed on or before

 December 1, 2023;

            c) Replies shall be filed on or before December 8, 2023;

            d) Oral argument on pretrial motions shall be held on a date to

 be set by the Court.




                                 Honorable Reneé M. Bumb
                                 Chief United States District Judge




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